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 8                                    UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         Case No. 1:15-cr-00284-DAD-BAM
12                       Plaintiff,
13          v.                                         STIPULATION AND ORDER TO
                                                       CONTINUE CHANGE OF PLEA HEARING
14   MARIA MORA,
15                       Defendant.
16

17          TO:     THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S

18   OFFICE and/or ITS REPRESENTATIVES:

19          IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective

20   clients that the change of plea hearing currently on calendar for October 31, 2016, at 10:00 a.m.,

21   be continued to December 5, 2016, at 10:00 a.m., or as soon thereafter as is convenient to the

22   court’s calendar.

23          This continuance is requested by counsel for Defendant, MARIA MORA, due to the fact

24   that assigned AUSA has been called away due to a family medical emergency. Defense counsel

25   also needs additional time to explore and communicate potential corrections to be made to the

26   parties’ plea agreement before entering the change of plea. The additional time requested would

27   help facilitate resolution of the case in light of the assigned AUSA’s current unavailability.

28          Counsel for defendant has spoken with Assistant U. S. Attorneys, Mark McKeon and
                                                       1
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 1   Henry Z. Carbajal III, who have no objection to this continuance. The parties agree to exclude

 2   time based on further defense preparation, investigation and negotiations etc. and agree that the

 3   time period of the date of this stipulation to December 5, 2016, inclusive, is deemed excludable

 4   pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv) because it results from a

 5   continuance granted by the Court at defendant’s request on the basis of the Court's finding that

 6   the ends of justice served by taking such action outweigh the best interest of the public and the

 7   defendant in a speedy trial.

 8   Dated: October 26, 2016                /s/ Michael J. Aed
                                            Michael J. Aed
 9                                          Attorney for Defendant
10

11   Dated: October 26, 2016.               UNITED STATES ATTORNEY’S OFFICE

12                                          /s/Henry Z. Carbajal III
                                            Henry Z. Carbajal III
13
                                            Mark McKeon
14                                          Assistant U.S. Attorneys

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16                                                 ORDER
17            The Court has reviewed and considered the stipulation of the parties to continue the

18   change of plea hearing in this case. Good cause appearing, the change of plea hearing as to Maria

19   Mora currently set for October 31, 2016, is continued to December 5, 2016, at 10:00am. The

20   time period between October 31, 2016 and December 5, 2016 is excluded under the Speedy Trial

21   Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv), as the ends of justice served by

22   granting the continuance outweigh the best interest of the public and the defendant in a speedy

23   trial.

24   IT IS SO ORDERED.
25
         Dated:     October 27, 2016
26                                                         UNITED STATES DISTRICT JUDGE

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